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I)ir@@: Dial; (818) 907-2030 ms mfbe
Fax; (313) 205»3730 B"--~~-~“--»~»~~~~.“.w.._v..»...._w

tom@pricalawgroup.com

At“tc)meys for Plaintiff
TIMOTHY HILL

UNITED STATES DISTRI.CT COUR'I`
CENTRAL I)IS'I`RICT OF CALIFORNIA - WESTERN DIVISION

TIMOTHY HILL, Ca,,_,§é N£V 12 .» ? Q 12 413
Plaintiff,
vs. COMPLAxNT ANI) DEMAND FOR
' JURY TRIAL

CREDIT MANAGEMENT, L,P,; ami (Unlawful Debt Collection Practices)

DOES 1 to 10, inclusive,
I)emand I)oes Not Exceed $10,000
Defendants.

 

 

COMPLAINT AN]) DEMAN}) FOR JURY TRIAL
INTROI)UC'I`I()N
1. This is an action for actual and Statutory damages brought by p1aintiff'l`i1nothy
Hill, an individual consumer, against defendaat Credit Manag@ment, L.P., for
Vic)lations of the law, including but not iimited to Violations Of the Fair Debt -
Coilection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”) and the

Rosentha] Fair Debt Collection Practices Act, Cai. Civ. Code §§ 1788 et seq.

 

 

 

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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Case 2:12-cv-O7912-A.]W Document 1 Filed 09/13/12 Page 2 of 12 Page |D #:5

(hereinafter “RFDCPA-”), Which prohibit debt colIectors from engaging in abusive,
deceptive, and unfair practices

JURISDICTION
2. Jurisdiction of this court arises under 15 U.S.C. § 16921<(d), Cal. Civ. Code §§
1788.30, and 28 U.S.C. § 1331 and § 1337. Declaratory relief is available pursuant
to 28 U.S.C. §§ 2201 and 2202. Venue in this District is proper in that the
l)efendant transacts business here and the conduct complained of occurred here.

PAR’I`IES

3. Plaintiff, Tirnothy Hill, is a natural person With a permanent residence in Van
Nuys,- Los Angeles County, California 91406.
4. Upon information and belief the Defendant, Credit Managernent, LP, is a
corporation engaged in the business of collecting debt in this state and in several
other states, With its principal place of business located at 4200 lnternationa1
Parl<vvay, Carrollton, Denton County,\'l`exas 75 007. The principal purpose of -
Defendant is the collection of debts in this state and several other states, and
Defendant regularly attempts to collect debts alleged to be due another.
5. Defendant is engaged in the collection of debts from consumers using the mail
and telephone Defendant regularly attempts to collect consumer debts alleged to
be due to another Defendant is a “debt collector” as delined by the FDCPA, 15

U.s.o. § 1692&(6), ana the cat civ. esaa § ivss.z.

 

 

 

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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Case 2:12-cv-O7912-A.]W Document 1 Filed 09/13/12 Page 3 of 12 Page |D #:6

FACTUAL ALLEGATIONS
6. Upon information and belief, Within one year prior to the filing of this
complaint, Defendant placed coilection calls to Plaintift`, calls Which displayed the
intent to harass and annoy Plaintift`, seeking and demanding payment for an alleged
consumer debt owed under an account number.
7. The debt that Defendant is attempting to collect on is an alleged obligation of a
consumer to pay money arising out of a transaction in which the money, property,
insurance or services Which are the subject of the transaction are primarily for
personal, family, or household purposes, Whether or not such obligation has been
reduced to judgment
8. Within one (1) year preceding the date of this Complaint, Defendant, in
connection With the collection of the alleged debt, contacted Plaintiff and

threatened to garnish Piaintit`t" s Wages.

9. Defendant has no standing to commence garnishment proceedings on behalf of

the creditor

10. Defendant is a debt collection company and as a debt collection company
attempting to collection an alleged debt, l)efendant can only refer the matter back
to the creditor With a recommendation that the original creditor attempt legal

proceedings Which could result in garnishment

 

 

 

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COMPLAINT AND DEMAND FOR IURY TRIAL

 

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ll. The representations made to Plaintit`i` by Defendant regarding garnishment
Were false

12. Within one (l) year preceding the date of this Complaint, Defen_dant, in
connection With the collection of the alleged debt, contact Plaintit`f and threatened
to take legal action against Plaintiff.

13. Dei`endant has no standing to commence legal proceedings on behalf of the
creditor.

14. Defendant is a debt collection company and as a debt collection company
attempting to collection an alleged debt, Defendant can only refer the matter back
to the creditor With a recommendation that the original creditor attempt legal
proceedings

15. The representations made to Plaintiff by Det`endant regarding legal
proceedings Were false.

16. Within one (l) year preceding the date of this Cornplaint, Defendant, in
connection With the collection of the alleged debt, contacted Plaintiff by leaving a
voicemail communication for Plaintiff in Which the Defendant did not identify that
the communication Was from a debt collector

17. Within one (1) year preceding the date of this Complaint and during the first

thirty (3 0) days of communicating With Plaintiff, Defendant, in connection With the

 

 

 

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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Case 2:12-cv-O7912-A.]W Document 1 Filed 09/13/12 Page 5 of 12 Page |D #:8

collection of the alleged debt, demanded payment on the alleged debt and thereby
overshadowed the Plaintiff’ s right to dispute the validity of the debt.
18. "i`he natural consequence of Defendant’s statements and actions was to
unjustly condemn and viiify Plaintiff for him non-payment of the debt he allegedly
owed.
19. 'l`he natural consequences of Defendant’s statements and actions was to
produce an unpleasant and/or hostile situation between Defendant and Plaintiff.
20. l)efendant utilized unfair and unconscionable means to collect on Plaintiff’ s
alleged debt, by lying to and misleading Plaintiff and speaking to him in an
offensive and verbally abusive manner.
21. As a result of the acts alleged above, Plaintiff suffered emotional distress
resulting in Plaintiff feeling stressed, and embarrassed, amongst other negative
emotions.

FIRST CLAIl\/I FOR RELIEF
22. Plaintiff repeats and realleges and incorporates by reference to the foregoing
paragraphs
23. Defendant violated the FDCPA. Defendant’s violations include, but are not

limited to, the following:

 

 

 

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COMPLAINT AND DEMAND FOR J"URY TRIAL

 

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(a) Defendant violated §] 692d of the FDCPA by engaging in
conduct the natural consequences of which is to harass, oppress, or abuse
any person in connection with the collection of an alleged debt; and

(b) Defendant violated § ] 692€ of the FDCPA by using a false,
deceptive, or misleading representation or means in connection with the
collection of the alleged debt; and

(c) Defendant violated §] 692@(4) of the FDCPA by giving the false
representation or implication that nonpayment of the alleged debt will result
in the garnishment of wages of any person when such action is unlawful and
the l)efendant does not intend to take such action; and

(d) Defendant violated §1692€(5) of the FDCPA by threatening to
take action that the Defendant does not intend to take and/or the Defendant
cannot legally take; and

(e) Defendant violated §] 692€(] O) of the FDCPA by using false
representation or deceptive means in connection with the collection the
alleged debt; and

(f) Defendant violated §16923(]]) of the FDCPA by failing to
disclose in a communication subsequent to the initial communication that
was not a formal pleading that the communication was from a debt collector;

and

 

 

 

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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(g) l)efendant violated §] 692fof the FDCPA by using unfair or
unconscionable means in connection with the collection of an alleged debt;
and

(h) Defendant violated §]692§(1)) of the FDCPA by overshadowing
or being inconsistent with the disclosure of the consumer’s rights to dispute
the debt or request the name and address of the original creditor

24. Defendant’s acts as described above were done intentionally with the purpose
of coercing Plaintiff to pay the alleged debt.
25. As a result of the foregoing violations of the lil`,)CPA, Defendant is liable to
the Plaintiff, Tiinothy Hill, for declaratory judgment that Defendant’s conduct
violated the FDCPA, actual damages, statutory damages, and costs and attorney
fees.

SECOND CLAIM F()R RELIEF
26. Plaintiff repeats and realleges and incorporates by reference the foregoing
paragraphs
27. Defendant violated the RFDCPA. Defendant’s violations include, but are not
limited to the following:

(a) Defendant violated §] 788. 17 of the RFDCPA by being a debt
collector collecting or attempting to collect a consumer debt that is not

compliant with the provisions of Sections l692b to l692j of the FDCPA, the

 

 

 

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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references to federal codes in this section referring to those codes as they
read as of January l, 2001.
28. As a result of the foregoing violations ot` the RFDCPA, Defendant is liable to
the plaintiff Timothy Hill Jfor actual damages, statutory damages, and costs and
attorney fees.
PRAYER ron RELIEF
WHEREFORE, Plaintiff Tirnothy Hill respectfully requests that judgment be
entered against defendant, Credit Management, L.P., i`or the following:
A. Declaratory judgment that Defendant’s conduct violated the FDCPA and
RFDCPA.
B. Actual damages from each Defendant pursuant to 15 U.S.C. §
1 692k(a)(l).
C. Statutory damages pursuant to 15 U.S.C. § 16921<.
D. Statutory damages pursuant to Cal. Civ. Code § 1788.30.
E. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692l<. and
Cal. Civ. Code § 1788.30.
F. Awarding Plaintiff any pre-judgment and postjudgment interest as may
be allowed under the law.

G. For such other and further relief as the Court may deem just and proper.

 

 

 

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COMPLA{NT AND DEMAND FOR IURY TRIA'L

 

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Case 2:12-cv-O7912-A.]W Document 1 Filed 09/13/12 Page 9 of 12 Page |D #:12

DEMANI) FOR JURY 'I`RIAL

Please take notice that plaintiff rtimothy Hill demands trial by jury in this action.

DATED: September ll, 2012 RESPECTFULLY SUBMITTED,
_ PRICE LAW GROUP, APC

annie

G. Thomas l\/Iartin, 111
Attorney for Plaintiff

 

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COMPLAINT AND DEMAND FOR FURY TRIAL

 

 

Case 2:12-cv-O7912-A.]W Document 1 Filed 09/13/12 Page 10 of 12 Page |D #:13

G. Thomas Martin, IIl (SBN 218456)
PRICE LAW GROUP, APC

15760 Ventura Blvd., Suite 1100
Encino, CA 91436

T: (818) 907-2030

F: (818) 907-2122

UNITED STATES DISTRICT COURT
CENTRAL ])IS'I`RICT OF CALIFORNIA

TIMOTHY HILL CASE NUMBER

V. PLAiNnFF(S) § V 12 w 7 912 "“’/:lfjl/ul

CCREDIT MANAGEMEN'I`, L.P.; and DOES l to 10,

inclusive,
SUMMONS

osrsNoANr(s).

 

 

rYO: DEFENDANT(S):

A lawsuit has been filed against you.

Within 21 days after service ot` this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached Elcomplaint |IJ amended complaint
13 counterclaim El cross»clairn or a motion under Rule 12 oi` the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff s attorney, G- ThOm&S Mal'firl, m (SBN 213456) , whose address is
15760 Ventura Boulevard, Suite 1100; Encino, California 91436 . If you fail to do SO,
judgment by default Will be entered against you for the relief demanded in the complaint You also must tile

your answer or motion with the court.

Dated; size 13 20a

 

 

(Seal ofthe Court)

[Use 60 days ifthe defendant is the United States or a Unitea' States agency, or is an ojicer or employee of the Um'£ed Stare.s. Allowed
60 days by Rule ]2(a)(3)]. '

 

CV~GlA (10)'11 SUMMONS

Case 2312-cv-O7912-A.]W Document 1 Filed 09/13/12 Page 11 of 12 Page |D #:14

UNITED STATES DISTRICT COURT, CENTRAL DISTR¥CT OF CALIFORNIA
CIVIL COV}BR SHEET

 

1 (a) I*LAENTIFFS (Clieclc box if you are repz;esenting yourself 11])

DEFENDAN'I`S

 

TIMOTHY HILL` CCREDIT MANAGEMENT, L.P.; and DOES l to 10, inclusive
LOS ANGEL£S COUNTY DENTON COUNTY, TEXAS
(i)) Attorneys (Firm Name, Address and Telephone _Number. If you are representing At£orneys (lf Known)

yourself, provide samer)

G. Thomas Martin, III (SBN 218456)
PRICE LAW GRGUP, APC

15760 Ven%ura Blvd., #1100, Enc§no, CA 9§436;'1`: {818) 907-2030

 

 

H. BASIS OF JUR¥SDICTION (Place an X in one box only.)

[lllU.

113 2 U.S. Governrnent Defendant

S. Government Plaintiff

s1 3 Federal ouasiioa (U,s.
Government No€ a Party)

111 4 Diversity (lndieate Citizenship
of Pasties in ltem I§I)

 

1II. CITIZ,ENSHIP OF I’RINCIPAL PAR'I`IES - For Diversity Cases Gnly
{Plaee an X in one box for plaintiff and one fmr defendant.)

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IV. ORIG]N (Place an X in one box only.)

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Distr§ct
L§tigation

[;| 7 Appeal to Dis€rict
Judge from
Magistrate §udge

 

V. REQUESTEI) IN CQMPLAINT: JURY DEMAND: lifch |;] No (Check ‘Yes’ only if demanded in complaint.)
CLAss ACTION under F.R.c.l>. 23= m Ye,s u(N<>

s1 MoNEY DEMANDEI) IN CoMPLAiNT: s ACCOrdins to PrOOf (<$10,000)

 

VI. CAUSE OF ACTION (C§te the U.S. Civil Statute under which you are Eling and Ws"ite a brief sta€ement of cause Do not cite jurisdictional statutes unless diversity.)
15 USC 1692; UNLAWFUL DEBT COLLECTION PRACTICES

VII. NA'I`URE ()F SUI'F (Place an X in one box oniy.)

 

  

  

  
     
  

   
 
   

 

 

 

   
 

 

 

 

 
  

  

 
 

 

  
   

 
    

 

 

  

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113 893 Environmental Matters injury Product Disabilities ~ 1`_`! 640 R.R, & 'f`rsek {405(3)}

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Actions
FOR OFFECE USE ONLY: Case Number: W .

AFTER COMPLE'I`ING THE FRGN"I' SIDE 0

   

F FORM CV-'?I, COMPLE'I`

 

E 'I`HE INFORl\/IATION REQUESTED BELOW.

 

CV-'i'l (05/08)

C!VIL COVER SHEET

Page l cf 2

Case 2:12-cv-O7912-A.]W Document 1 Filed 09/13/12 Page 12 of 12 Page |D #:15

UNITED STATES I)ISTRICT COUR'I`, CENTRAL DiSTRICT OF CALIFORNIA
CIVIL COVER SHEET

Vill(a}. IDENTICAL CASES: Has this action been previously filed in this court and dismissed remanded or closed‘,il l§(No ill Yes
!fyes, list case number(s):

 

VIII(!)}. RELATED CASES: Have any cases been previously filed in this court that arc related to the`present case? l§(No ill Yes
if yes, iist case number(s):

 

Civil cases are deemed related Efa previously filed case and the present case:
(Check all boxes that apply) £] A. Arise from the same or closer related transactions, happenings, or events‘, or
ij 331 Call for detennination of the same or substantially related or simiiar questions of law and fact', or
EJ C. For other reasons would entail substantial duplication of labor if heard toy different judges; er
iii D. Involve the same patent, trademark or copyright grid one of the factors identified above in a, b or c also is present

 

IX. VENUE: {When completing the following information, use an additional sheet if nceessary.)

(a) List the County in this i)istrict', Califomia County outside of this District', State if other than Calit`ornia; or l'-`oreign Country, in which EACH named plaintii‘l’resides.
i:l Check here if the government its agencies or employees is a named plaintiffl If §his box is checked, go to item {b).

 

County in this District:* California County outside of this District; Statc, if other than Califomia; or Foreign Country
LOS ANGBLES COUN'E`Y

 

 

 

(i)) List the County in this District; California County outside of this Bistrict; St'ate if other than Calii`ornia', or Foreign Country, in which EACH named defendant resides
ij Check here if the governmentz its agencies or employees is a named defendant lfthis box is checked, go to item (c).

 

County in this District:* California County outside of this i)istrict; State, if other than California; or Foreign Country
DENTON COUNTY, 'E`EXAS

 

 

 

 

(c) §Jist the County in this District; California County outside of this District', State if other than Caiifornia‘, or Foreign Country, in which EACH claim arose.
Note: fn land condemnation cascs, use the iocation of the tract orlaan invoived.

 

County in this District:* \ California County outside of this District', State, if other than Califomia; or Foreign Countzy
LOS ANGELES COUNTY

 

 

 

 

 

 
 
 
 
 

* Los Angeles, Grangc, San Bernardino, Riverside, V
Note: fn land condemnation cases use the location of th

 

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Notice to Counsel/Parties: 'i'he CV-'il (JS-¢l¢t) Civil Cover Sheet and the information contained herein neither replace nor supplement the tiiing and service of pleadings
or other papers as required by law. This forrn, approved by the J udicial Con?erence of the Uniteci States in Scptember 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerlc of the Court for the purpose of statistics, venue and initiating the civi§ docket sheet (iior more dctaiied instructions see separate instructions sheet.)

 

Key to Statistieal codes relating to Soeiai Security Cases:

Naturc of Suit Code Abbrcviation Substantive Statement of Cause of Action

861 HlA Aii claims for health insurance benefits (Medieare) under Title iS, Pert A, of the Sociai Secerity Act, as amended
Also, inciucie claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program (42 U.S.C. i935FF(b))

862 BL All ciai\ns for “Blacic Lung" benefits under Title 4, Part B, of the Federai Coai Niine Heaith and Safety Aet of 1969.
(3(} U.S.C. 923)

363 DIWC All claims filed by insured workers for disability insurance benefits under 'l`itlc 2 of the Sociai Security Act, as
amended', pins all claims filed for child’s insurance benefits based on disability (42 U.S.C. 405{§))

363 DIWW All claims fiied for widows or widowers insurance benefits based on disability under 'i`itle 2 of the Social Security
Act, as amended (42 U.S.C. 405(@))

864 SS§D Aii claims for supplemental security income payments based upon disability filed under "i`itle 16 of the Social Security
Act, as amended

865 RSI All claims for retirement (old age) and survivors benefits under “I`itle 2 ofthe Social Security Act, as amended (42
U~S»C- (e))

 

CV"'Fl {OS/GS) CIVIL COVER SHEET Page 2 of 2

